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UNITED STATES SOUTHERN DISTRICT OF NEW YORK
United States of America
v. Docket # 1:12-cr-868 (NRB)
Lena Lasher
Dear Clerk of the Court,

Judge Buchwald, in one of her letters, wrote that once I, Lena Lasher, am released, | may contact the
Department of State for my passport. Now that I am released, per Jill at the Bureau of Consular
Affairs, I need a letter from the court stating that I have permission to obtain/retrieve a passport while
under supervision; the passport is currently held by the Bureau of Consular Affairs (Passport Services,
Office of Legal Affairs, (202) 485-6400)

Please do this as soon as possible
Respectfully submitted, June 25, 2018

LRA
Lena Lasher - the passport is under my maiden name (CONGTANG)

16 Patton Street
High Bridge, NJ 08829

 
